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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In Re:                                       )       Chapter 11
                                             )
UNCONDITIONAL LOVE INC.                      )       Case No 23-11759-MFW
                                             )
                                             )
               Debtor.                       )
                                             )

                    NOTICE OF APPEARANCE AND REQUEST FOR
                        SERVICE OF NOTICES AND PAPERS


         PLEASE TAKE NOTICE that Brian J. McLaughlin and Offit Kurman, P.A. hereby

appears in the above-captioned cases (the “Chapter 11 Cases”) as counsel GDM SpA, pursuant

to section 1109(a) of title 11 of the United States Code (the Bankruptcy Code”), Rule 9010(b)

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2002-1(d) of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”), and requests that copies of any and all notices

and papers filed or entered in these Chapter 11 Cases be given to and served via email upon the

following:

                                Brian J. McLaughlin, Esquire
                                Offit Kurman, P.A.
                                222 Delaware Avenue, Suite 1105
                                Wilmington, DE 19801
                                T: (302) 351-0916
                                brian.mclaughlin@offitkurman.com

         PLEASE TAKE FURTHER NOTICE that neither this notice or any subsequent

appearance, pleading, claim, or suit is intended to nor shall be deemed to waive GDM SpA’s

rights: (1) to have an Article III judge adjudicate in the first instance any case, proceeding,

matter, or controversy as to which a bankruptcy judge may not enter a final order or judgment
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consistent with Article III of the United States Constitution, (2) to have final orders in non-core

matters entered only after de novo review by a higher court, (3) to trial by jury in any proceeding

so triable herein or in any case, controversy, or proceeding related hereto, (4) to have the

reference withdrawn in any matter subject to mandatory or discretionary withdrawal, or (5) to

any other rights, claims, actions, defenses, setoffs, or recoupments to which GDM SpA is or may

be entitled under agreements, in law or equity, all of which rights, claims, actions, defenses,

setoffs, and recoupments are hereby expressly reserved.

         PLEASE TAKE FURTHER NOTICE that GDM SpA does not consent to the entry

of final orders or judgments by the Court if it is determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                                       OFFIT KURMAN, P.A.

                                                       /s/ Brian J. McLaughlin, Esq.
                                                       Brian J. McLaughlin, Esq. (#2462)
                                                       222 Delaware Avenue
                                                       Suite 1105
                                                       Wilmington, DE 19801
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                                                       Counsel for Offit Kurman, P.A.



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